        Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 1 of 49


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                                                             Fourth Judicial District, Ada County
                                                             Christopher D. Rich, Clerk of the Court
                                                             By; Lori Ferguson, Deputy Clerk


Daniel W. Bower (ISB No. 7204)
Richard S. Bower (ISB No. 8469)
STEWART TAYLOR & MORRIS PLLC
12550 W. Explorer Drive, Suite 100
Boise, Idaho 83706
Telephone: (208) 345-3333
Facsimile: (208) 3454461
cibower@stin-law.com
rbovver stm-law,com

Attorneys for Plaintiff
                                       Nippier, Steven


            IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICT

               STATE OF IDAHO, IN AND FOR THE COUNTY OF ADA

PACIFIC CREST SERVICES, INC„ an Idaho
corporation,                                    Case No.
                                                           CVO 1-17-11722

                          Plaintiff,            SUMMONS

VS,


JOHN ANDRAOS, an individual; SOUTH
WESTERN FINANCIAL NETWORK AND
INSURANCE SERVICES, a California
corporation,

                      Defendants,

TO THE ABOVE NAMED DEFENDANT:

              JOHN ANDRAOS
              261 STAR LANE DR.
              LA CANADA FLINTRIDGE, CA 91011




SUMMONS — Page I
                                                                                         EXHIBIT

                                                                                IA
       Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 2 of 49




NOTICE: YOU HAVE BEEN SUED BY THE ABOVE-NAMED PLAINTIFF. THE COURT
MAY ENTER JUDGMENT AGAINST YOU WITHOUT FURTHER NOTICE UNLESS YOU
RESPOND WITHIN 20 DAYS. READ THE INFORMATION BELOW.

        You are hereby notified that in order to defend this lawsuit, an appropriate written response

must be filed with the above-designated court within 20 days after service of this Summons on

you. If you fail to file a written response, the court may enter judgment against you as

demanded by the Plaintiff in the Complaint. A letter to the Judge is not an appropriate

written response.

       A copy of the Complaint is served with this Summons. If you wish to seek the advice or

representation by an attorney in this matter, you should do so promptly so that your written

response, if any, may be filed in time and other legal rights protected.

       An appropriate written response requires compliance with Rule 10(a)(1) and other Idaho

Rules of Civil Procedure and shall also include:

       1.      The title and number of this case.

       2.      If your response is an Answer to the Complaint, it must contain admissions or

denials of the separate allegations of the Complaint, and other defenses you may claim.

       3.      Your signature, mailing address and telephone number, or the signature, mailing

address and telephone number of your attorney.

       4.      Proof of mailing or delivery of a copy of your response to the Plaintiffs attorney, as

designated above.

       5.      To determine whether you must pay a filing fee with your response, contact the

Clerk of the District Court, (208) 287-6900.

       6.      Your response shall be filed with the Ada County Clerk of Court, 200 W. Front

Street, Boise, ID 83702, (208) 287-6900.

SUMMONS — Page 2
       Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 3 of 49




       7.     You are entitled to be represented by an attorney of your own choosing. If you are

financially unable to employ an attorney, the court shall appoint counsel. You request counsel by

writing the Clerk of the Court, 200 W. Front Street, Boise, ID 83702, (208) 287-6900.
                 6/22/2017 12:24:16 PM
       DATED This       day of June, 2017.

                                            CLERK OF THE DISTRICT COURT?
                                                CHRISTOPHER D. RICH


                                            By: Deputy erk




SUMMONS — Page 3
       Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 4 of 49

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Richard S. Bower (ISB No. 8469)
STEWART TAYLOR & MORRIS PLLC
12550 W. Explorer Drive, Suite 100
Boise, Idaho 83706
Telephone: (208) 345-3333
Facsimile: (208) 345-4461
dbower@stm-law.com
rbower@stm-law.com

Attorneys for Plaintiff

                                         Hippler, Steven

            IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICT

               STATE OF IDAHO, IN AND FOR THE COUNTY OF ADA

PACIFIC CREST SERVICES, INC., an Idaho
                                                           CV01-17-11722
corporation,                                   Case No.

                      Plaintiff,               SUMMONS

VS.



JOHN ANDRAOS, an individual; SOUTH
WESTERN FINANCIAL NETWORK AND
INSURANCE SERVICES, a California
corporation,

                      Defendants.

TO THE ABOVE NAMED DEFENDANT:

              SOUTH WESTERN FINANCIAL NETWORK AND INSURANANCE
              SERVICES
              JOHN ANDRAOS, REGISTERED AGENT
              261 STAR LANE DR.
              LA CANADA FLINTRIDGE, CA 91011



SUMMONS — Page 1
        Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 5 of 49




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SUMMONS — Page 2
       Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 6 of 49




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                     6/22/2017 12:24:16 PM
       DATED This             day of June, 2017.      CHRISTOPHER D. RICH

                                            CLERK OF THE DISTRICT COURT

                                                                                        1.
                                                                                                 JUDICIAL
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                                            By: Deputy Cler




SUMMONS — Page 3
      Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 7 of 49




Daniel W. Bower (ISB No. 7204)
Richard S. Bower (ISB No. 8469)
STEWART TAYLOR & MORRIS PLLC
12550 W. Explorer Drive, Suite 100
Boise, Idaho 83706
Telephone: (208) 345-3333
Facsimile: (208) 345-4461
dbower@stm-law.com
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Attorneys for Plaintiff



            IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICT

               STATE OF IDAHO, IN AND FOR THE COUNTY OF ADA

PACIFIC CREST SERVICES, INC., an Idaho
corporation,                                            Case No.

                          Plaintiff,                    COMPLAINT

VS.


JOHN ANDRAOS, an individual; SOUTH
WESTERN FINANCIAL NETWORK AND
INSURANCE SERVICES, a California
corporation,

                      Defendants.

       COMES NOW Plaintiff Pacific Crest Services, Inc., ("Pacific Crest" or "Plaintiff'), by and

through its counsel of record, and for its Complaint against Defendants state and allege as follows:

                                            PARTIES

       1.      At all times relevant hereto, Pacific Crest was a duly organized and an existing



COMPLAINT — Page 1
      Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 8 of 49




Idaho corporation, with its primary place of business in Ada County, Idaho.

       2.      Pacific Crest is an insurance alliance that allows independent insurance agents to

have access to products from multiple insurance carriers ("Carriers").

       3.      Defendant John Andraos is an insurance agent that contracted with Pacific Crest.

       4.      At all times relevant hereto, defendant John Andraos has operated an insurance

agency under the name South Western Financial Network and Insurance Services. ("SWFNIS"),

that is, upon information and belief, a California corporation. Mr. Andraos and SWFNIS are

referred to herein collectively as "Defendants."

                                JURISDICTION AND VENUE

       5.      The Court has subject matter jurisdiction over this case under Idaho Code §§ 1-705.

       6.      The Court has personal jurisdiction over the parties under Idaho Code § 5-514(a).

       7.      Venue is proper in Ada County, State of Idaho, pursuant to Idaho Code § 5-404.

                                 GENERAL ALLEGATIONS

       8.      Effective October 3, 2014, Pacific Crest and Andraos entered into an independent

contractor agreement ("Contractor Agreement") and a book of business purchase agreement

("Purchase Agreement") with Pacific Crest. Copies of the Contractor Agreement and Purchase

Agreement (collectively "Agreements") are attached hereto and incorporated herein as Exhibits A

and B, respectively.

       9.      The purpose of the Agreements was commercial and was not for personal or

household purposes.

       10.     The Contractor Agreement, in exchange for a monthly fee, allowed Andraos and

SWFNIS access and use of Pacific Crest's client management system and policy rater, that assisted

Andraos and/or SWFNIS in selling insurance products and services.

COMPLAINT — Page 2
        Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 9 of 49




        11.    The Contractor Agreement provided that although Andraos would have an

equitable interest in the book of business developed by Andraos ("Andraos' Interest"), the book of

business developed by Andraos ("Book of Business") would remain the property of Pacific Crest.

See Exhibit A, Contractor Agreement, p.9, §2.4.

        12.    The Contractor Agreement obligated Andraos to act in good faith and to devote all

necessary time and attention to the solicitation and sale of insurance products as well as servicing

the Book of Business which resulted from such sales. See Exhibit A, Contractor Agreement, p.5,

§1.4.

        13.    The Contractor Agreement also obligated Andraos to fulfill his duties faithfully,

intelligently, to the best of Andraos' ability and in the best interest of Pacific Crest. See Exhibit

A, Contractor Agreement, p.5, §1.4.

        14.    The Contractor Agreement prohibited Andraos from disclosing Pacific Crest's

confidential information as well as other information stored on Pacific Crest's client management

system without Pacific Crest's prior written consent. See Exhibit A, Contractor Agreement, p.6,

§2.1.

        15.    Andraos worked through Pacific Crest and developed the Book of Business for

over two and one-half years (2 1/2) years.

        16.    On January 1, 2017, the Book of Business amounted to $913,685.57 in annualized

current premium. A record showing the amount of premium in the Book of Business on January

1, 2017 is attached hereto as Exhibit C and incorporated herein.

        17.    In early 2017, Andraos approached Pacific Crest about potentially purchasing the

Book of Business ("Buyout") from Pacific Crest and whether, in the event that Andraos terminated

the Contractor Agreement per the terms of the Contractor Agreement, Pacific Crest would allow

COMPLAINT — Page 3
     Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 10 of 49




Andraos to purchase the Book of Business.

       18.       Pacific Crest was willing to consider the Buyout.

       19.       Andraos and Pacific Crest discussed a number of closing dates all contingent on

Andraos' alleged ability to obtain financing.

       20.       Pacific Crest stopped charging Andraos its monthly fees based on Andraos'

representations that the Buyout was imminent.

       21.       Pacific Crest also consented to Andraos obtaining insurance appointments and

codes outside of Pacific Crest because of Andraos' representations that the Buyout was imminent.

       22.       However, Andraos kept delaying the closing of the Buyout by postponing the

closing date and proposing new terms.

       23.       Andraos never closed on the Buyout and never purchased the Book of Business.

       24.       Upon information and belief, the purpose of the delay was to devalue the Book of

Business by the transferring, renewing and/or canceling of policies and moving said policies

outside of Pacific Crest (herein referred to as "Rolling the Book of Business" or "Moving the Book

of Business").

       25.       From January 1, 2017 to June 7, 2017, the Book of Business dropped from

$913,685.57 to $712,147.71 in annualized current premium. The amount of annualized current

premium in the Book of Business on June 7, 2017 is also shown in Exhibit C.

       26.       Internal Pacific Crest documents show "policy activity" wherein Mr. Andraos has

transferred policies from the Book of Business to another "code" outside of Pacific Services but

with the same carrier. See Exhibit D, attached hereto.

       27.       From January 1, 2017 to June 20, 2017, Andraos transferred twenty-one (21)

policies outside of Pacific Crest--those policies constituted $54,702.60 in annualized current

COMPLAINT — Page 4
      Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 11 of 49




premium.

       28.     From January 1, 2017 to June 20, 2017 Andraos cancelled six (6) policies outside

of Pacific Crest--those policies constituted $40,937.04 in annualized current premium.

       29.     From January 1, 2017 to June 20, 2017, twenty-one (21) insured individuals that

had policies serviced by Andraos requested the policy be cancelled and placed with another carrier

outside of Pacific Crest--those policies constituted $45,003.47 in annualized current premium.

       30.     From January 1, 2017 to June 20, 2017, forty-eight (48) individuals that had their

policies serviced by Andraos ("insureds") requested their policy be cancelled and placed with

another carrier outside of Pacific Crest--those policies constituted $103,074.71 in annualized

current premium.

       31.     From January 1, 2017 to June 20, 2017, seven (7) policies serviced by Andraos

expired and the renewal policy and related commissions were not received by Pacific Crest—those

policies constituted $7,306.88 in premium.

       32.     From January 1, 2017 to June 20, 2017, two (2) policies serviced by Andraos were

not renewed by the carrier--those policies constituted $4,782.28 in annualized current premium.

       33.     From January 1, 2017 to June 20, 2017, thirty-nine (39) policies serviced by

Andraos were rewritten through another agency outside of Pacific Crest but with the same

carrier--those policies constituted $87,230 in annualized current premium.

       34.     Consequently between January 1, 2017 and June 20, 2017 Pacific Crest's policy

activity documents for the Book of Business ("Andraos' Policy Activity") show that Andraos

rolled the Book of Business in the amount of one-hundred forty-four (144) policies for a total of

$343,037.74 in annualized current premium. See Exhibit D.

       35.    Upon information and belief, from at least January 1, 2017 until the present, in

COMPLAINT — Page 5
      Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 12 of 49




addition to Rolling the Book of Business, Andraos also wrote business outside of Pacific Crest

which should have been added to the Book of Business pursuant to the Contractor Agreement.

       36.     Andraos has attempted to conceal from Pacific Crest the Rolling of the Book of

Business and/or new business written outside of Pacific Crest that should have been added to the

Book of Business.

       37.     The Contractor Agreement requires Andraos to allow Pacific Crest to audit the

Book of Business, including Andraos and SWFNIS' books and records.

       38.     Andraos refused or otherwise prevented Pacific Crest from being able to perform

the audit despite being put on notice of Pacific Crest's desire to audit the Andraos' books and

records.

       39.     As a result of Andraos' Policy Activity the Book of Business has been devalued.

       40.     As a result of Andraos' Policy Activity, Pacific Crest was not given the opportunity

to purchase Andraos' Interest in the Book of Business as set forth in the Purchase Agreement and

before it was intentionally devalued.

       41.     As a result of Andraos' bad acts, Pacific Crest has been deprived of commissions

on business moved out of the Book of Business as well as on business which was written outside of

Pacific Crest but that should have been added to the Book of Business.

       42.     Further, as a result of Andraos' bad acts, Pacific Crest's relationships with

insurance carriers have been damaged and Pacific Crest's reputation in the industry has been

negatively impacted.

                                FIRST CAUSE OF ACTION
                       (Declaratory Judgment--Unauthorized Action)

       43.     Pacific Crest incorporates by reference the preceding paragraphs as if fully alleged


COMPLAINT — Page 6
       Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 13 of 49




herein.

          44.   An actionable, justiciable controversy exists between Pacific Crest and the

Defendants, Andraos and SWFNIS, regarding the Rolling of the Book of Business without Pacific

Crest's authorization or approval.

          45.   Pacific Crest is the owner of the Book of Business and Andraos and SWFNIS have

transferred (and/or are attempting to transfer) without Pacific Crest's authorization policies from

the Book of Business.

          46.   The Rolling the Book of Business is an illegal action that is in violation of the

contractual obligations and fiduciary duties of the parties and needs to be declared invalid and/or

reversed and precluded in the future.

          47.   Andraos and SWFNIS have knowledge that that Rolling the Book of Business is

unauthorized and subject to being invalidated.

          48.   As a result of Andraos and/or SWFNIS' unauthorized acts, Pacific Crest has been

forced to incur costs and attorney fees to protect its interests.

                                 SECOND CAUSE OF ACTION
                                (Breach of Contractor Agreement)

          49.   Pacific Crest incorporates by reference the preceding paragraphs as if fully alleged

herein.

          50.   Pacific Crest and Andraos entered into the Contractor Agreement and Purchase

Agreement which are valid and enforceable contracts.

          51.   The Contractor Agreement obligated Andraos to perform his duties faithfully and

in the best interest of Pacific Crest.

          52.   Andraos breached these obligations by Rolling the Book of Business and by not


COMPLAINT — Page 7
      Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 14 of 49




acting in the best interests of Pacific Crest.

          53.   The Contractor Agreement also mandates that Pacific Crest be permitted to audit

Andraos' books and records

          54.   Andraos breached the Contractor Agreement by refusing to allow Pacific Crest to

audit his books and records.

          55.   The Contractor Agreement further prohibits Andraos from disclosing Pacific

Crest's confidential information, including information contained in Pacific Crest's client

management system without Pacific Crest's prior written consent.

          56.   Andraos breached the Contractor Agreement when he moved and/or allowed

clients to be moved by using information from Pacific Crest's client management system without

obtaining Pacific Crest's prior written consent and in violation of Section 2.1 of the Contractor

Agreement.

          57.   As a result of Andraos' multiple breaches, Pacific Crest has been damaged in the

sum of at least $10,000, which will be shown at trial.

                                THIRD CAUSE OF ACTION
                     (Breach of Covenant of Good Faith and Fair Dealing)

          58.   Pacific Crest incorporates by reference the preceding paragraphs as if fully alleged

herein.

          59.   Pacific Crest and Andraos entered into the Contractor Agreement and the Purchase

Agreement, which are valid and enforceable and that obligated Andraos to perform its contractual

obligations to Pacific Crest in good faith and with reasonable standards of fair dealing.

          60.   The Purchase Agreement provided Pacific Crest the right to purchase Andraos'

interest should the Contractor Agreement conclude.


COMPLAINT — Page 8
       Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 15 of 49




          61.   Andraos breached the covenant of good faith and fair dealing by Rolling the Book

of Business and by intentionally engaging in acts that diminished the Book of Business to the

detriment of Pacific Crest and that deprived Pacific Crest of its contractual right to purchase the

Book of Business without it being diminished.

          62.   As a result of Andraos' multiple breaches, Pacific Crest has been damaged in the

sum of at least $10,000.00, and additional amounts, which will be shown at trial.

                                  FOURTH CAUSE OF ACTION
                                   (Breach of Fiduciary Duty)

          63.   Pacific Crest incorporates by reference the preceding paragraphs as if fully alleged

herein.

          64.   Pacific Crest and Andraos owe fiduciary duties, including duties of loyalty and

care, to each other.

          65.   Andraos has taken advantage of his position and control of the Book of Business to

the detriment of Pacific Crest.

          66.   Andraos has improperly Rolled the Book of Business to the detriment of Pacific

Crest and has otherwise failed to act in Pacific Crest's best interest.

          67.   Andraos has engaged in grossly negligent conduct or intentional misconduct in

maintaining and servicing the Book of Business, including but not limited to improper attempts to

transfer, cancel, or renew policies that comprise the Book of Business in a way that is detrimental

to Pacific Crest.

          68.   As a result of Andraos' breach of fiduciary duties Pacific Crest has been damaged

in amounts to be proven at trial, and forced to incur costs and attorney fees to protect its interests.




COMPLAINT — Page 9
      Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 16 of 49




                                  FIFTH CAUSE OF ACTION
                                        (Conversion)

          69.   Pacific Crest incorporates by reference the preceding paragraphs as if fully alleged

herein.

          70.   Andraos and/or SWFNIS took and kept a portion of the Book of Business owned by

Pacific Crest without a right to do so.

          71.   As a result of Andraos and/or SWFNIS' conversion of a part of the Book of

Business, Pacific Crest suffered damages of at least $10,000.00 which will be shown at trial.

                                  SIXTH CAUSE OF ACTION
                                     (Unjust Enrichment)

          72.   Pacific Crest incorporates by reference the preceding paragraphs as if fully alleged

herein.

          73.   Andraos and/or SWFNIS has benefited from Pacific Crest's Book of Business by

Rolling the Book of Business in a way that benefitted Andraos and/or SWFNIS.

          74.   Andraos and/or SWFNIS accepted the benefit that came from the Rolling of the

Book of Business.

          75.   Under the circumstances, it would be unjust for Andraos and/or SWFNIS to retain

the benefit of rolling the Book of Business without compensating Pacific Crest for that value.

                              SEVENTH CAUSE OF ACTION
                     (Tortious Interference with Business Expectancy)

          76.   Pacific Crest incorporates by reference the preceding paragraphs as if fully alleged

herein.

          77.   Pacific Crest had a valid business expectancy and financial interest in the Book of

Business.


COMPLAINT — Page 10
       Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 17 of 49




          78.   Andraos and SWFNIS understood and appreciated that business expectancy and

financial interest.

          79.   Notwithstanding this understanding, Andraos and SWFNIS took improper and

unauthorized action to purposefully interfere with Pacific Crest's business expectancy and interest.

          80.   As a result of Andraos and SWFNIS' improper interference with Pacific Crest's

business expectancy and interest, Pacific Crest suffered damages of at least $10,000.00 which will

be shown at trial.

                                  EIGTH CAUSE OF ACTION
                                          (Fraud)

          81.   Pacific Crest incorporates by reference the preceding paragraphs as if fully alleged

herein.

          82.   When Andraos approached Pacific Crest about potentially purchasing the Book of

Business, Andraos made a number of representations to Pacific Crest.

          83.   After Pacific Crest indicated a willingness to consider the transaction, Andraos and

Pacific Crest discussed a number of closing dates all contingent on Andraos' alleged ability to

obtain financing.

          84.   Pacific Crest stopped charging Andraos its monthly fees based on Andraos'

representations that the Andraos would purchase the Book of Business in a timely manner.

          85.   Pacific Crest also consented to Andraos obtaining insurance appointments and

codes outside of Pacific Crest because of Andraos' representations that the purchase was

imminent.

          86.   Andraos' representations regarding his ability to obtain financing, that financing

was imminent, and that Andraos desired to close on the transaction timely were false and made for


COMPLAINT — Page 11
         Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 18 of 49




the purpose of delaying the Buyout so that Andraos and SWFNIS could roll the Book of Business.

          87.   Andraos' statements were material and were relied on by Pacific Crest as

evidenced by Pacific Crest not charging Andraos its monthly fees and consenting to Andraos

obtaining insurance appointments and codes outside of Pacific Crest.

          88.   Andraos either knew the representations were false or was unaware of whether his

representations were true at the time he made the statements.

          89.   Pacific Crest did not know, and was unable to confirm, the representations were

false.

          90.   Andraos intended for Pacific Crest to rely upon the statements and act upon them in

a manner reasonably contemplated.

          91.   Pacific Crest's reliance was reasonable under all the circumstance.

          92.   As a result of Pacific Crest's reliance on the false representations, Pacific Crest

suffered damages of at least $10,000.00 proximately cause by reliance on the false representations

which will be shown at trial.

                                 NINTH CAUSE OF ACTION
                           (Application for Appointment of Receiver)

          93.   Pacific Crest incorporates by reference the preceding paragraphs as if fully alleged

herein.

          94.   Pacific Crest owns the Book of Business.

          95.   Andraos has been Rolling the Book of Business and/or neglecting to service the

Book of Business in a way to protect and/or preserve and/or grow the assets of the Book of

Business.

          96.   Andraos and/or SWFNIS have refused to allow Pacific Crest to audit books and


COMPLAINT — Page 12
      Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 19 of 49




records as required by the Contractor Agreement.

          97.    As a result of Andraos and/or SWFNIS' acts and omissions the Book of Business

has lost and will continue to lose significant value to the point of being rendered valueless.

          98.    The appointment of a receiver is necessary to, inter alia, to audit the Book of

Business and to protect all remaining assets of the Book of Business.

          99.    The appointment of a receiver is further necessary to reestablish relationships with

clients and carriers, and to manage commissions and accounts and to ensure the ongoing

profitability of the Book of Business.

                                 CLAIM FOR ATTORNEY FEES

          Pacific Crest has been required to retain the services of counsel, individually and on behalf

of the Companies. Pacific Crest is entitled to recover reasonable costs and attorney fees from

Defendants pursuant to Idaho Rule of Civil Procedure 54, Idaho Code §§ 12-120(3) and 12-121,

and as may otherwise be allowed by law.

                                        DEMAND FOR JURY

          Pacific Crest demands a trial by jury comprised of the maximum number of jurors allowed

by law.

                                       PRAYER FOR RELIEF

          WHEREFORE, Pacific Crest prays for a declaration and entry of judgment as follows:

          1.     That any transfer of a policy to codes outside of Pacific Crest be voided and/or

declared invalid.

          2.     An Order declaring that Pacific Crest must be repaid for any monies and/or

commissions improperly diverted to Andraos and/or SWFNIS and an award of prejudgment

interest at the statutory rate on any declared amounts improperly diverted from the Book of

COMPLAINT — Page 13
      Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 20 of 49




Business.

       3.      An Order appointing a receiver to take control of and operate the Book of Business

under judicial supervision until the disputes between the parties can be resolved.

       4.      An Order awarding special and general damages according to proof, and interest in

an amount to be proven at the time of trial.

       5.      An award of attorney fees and costs for having to bring this action.

       6.      Any further relief as this Court may deem just, equitable and appropriate.

DATED this 22nd day of June, 2017.



                                               STEWART TAYLOR & MORRIS PLLC



                                               /s/ Daniel W. Bower
                                               Daniel W. Bower
                                               Richard S. Bower
                                               Attorneys for Defendant Pacific Crest Services, Inc.




COMPLAINT — Page 14
    Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 21 of 49




                                             VERIFICATION

STATE OF IDAHO
                                     ) ss.
County of Ada

       Shawn Webb, being first duly sworn upon oath, deposes and says:

       I. Shawn Webb. President of Pacific Crest Services, Inc., being first duly sworn upon oath.

hereby depose and say that I have read the foregoing Complaint and Demand for Jury Trial, and

that the matters alleged in said Complaint are true and correct.




SUBSCRIBED AND SWORN TO before me this 22nd day of June, 2017,
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                                                NOTARY PUBLIC for
                                                My Commission Expire


                     ***************




COMPLAINT — Page 15
                 Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 22 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




                           INDEPENDENT CONTRACTOR AGREEMENT
            THIS INDEPENDENT CONTRACTOR AGREEMENT is executed on this3rd day of
              October                             2014              , by and between Pacific Crest Services, Inc.
                                                             John And raos
            (hereinafter "Company"), and                                                   (hereinafter

            "Contractor").

            In addition to this Independent Contractor Agreement, Company and Contractor may enter into

            related agreements, including but not limited to a Compensation Agreement, Book of Business

            Purchase Agreement, Mutual Non-disclosure Agreement, Pre-Existing Contractual

            Relationships Agreement, Walkaway Addendum, Security Agreement and/or other agreements,

            all or any of which shall be taken together to define the relationship between Company and

            Contractor and all of which shall hereafter be collectively referred to as the "Agreement." This

            Agreement shall be effective as of the date set forth hereinabove.

            NOW, THEREFORE, FOR AND IN CONSIDERATION of the mutual promises and

            agreements contained 'herein, and for other valuable consideration, the sufficiency of which is

            hereby acknowledged, Company and Contractor agree to affiliate for the purpose of marketing

            insurance prodt;cts under the following terms and conditions:

                              SECTION 1 - WORK TO BE PERFORMED
            1.1 Term.        Company agrees to contract with Contractor, for a term commencing on the

            date set forth hereinabove (the "Effective Date") and continuing until terminated in accordance

            with Section 4 of this Agreement.

            During the term of this agreement, the Company shall provide the following services to the

            Contractor:



            INDEPENDENTEONTRACTOR AGREEMENT
            (AUGUST 28, 2014)
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 23 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




                     a. Contractor shall be provided an account on the Company's Client Management

                     System, and Contractor shall have use of the system;

                     b. Company shall provide back office policy management and commission reporting;

                     c. Company shall make best efforts to obtain appointments for Contractor with its

                     Carriers;

                     d. Company shall provide training on its internal compliance procedures and technology

                     platform. Company will make available additional training on Carrier requirements;

                     Sales techniques; and documentation procedures at Company headquarters at an

                    additional cost.

                    e. Company services shall be provided according to the Company fee schedule in place

                    as of the Effective Date. The fees may be increased from time to time as costs of these

                    services increase to Company.

                    f. Contractor is responsible for complying with Carriers' policies and the maintenance of

                    its appointments with Carriers.

                    g. Contractor's failure to pay fees and assessments may result in suspension of services

                    provided by Company, and should Contractor show a pattern of failure to pay Company

                    at its discretion may invoke the Termination provisions of Section 4 of this Agreement.

            1.2     Out of Network Business

                    Contractor may write out of Network business only after ascertaining that the carrier they

                    are placing business with is not in the Company's carrier network. Prior to placing out of

                    network business Contractor must execute the Company's "Out of Network Business"

                    agreement.




            INDEPENDENT CONTRACTOR AG REEM ENT
            (AUGUST 2.8. 2014)
                 Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 24 of 49

DocuSign Envelope ID: 9E7008F6-09E3-4BE1-9996-1FADCO2247CF




                     Contractor is permitted to write business with Carriers for which Company does not have

                     an appointment (Out of Network business). Contractor must provide their own E&O

                     coverage for this business.- Contractor shall remain solely responsible for servicing this

                     out of network business, including but not limited to billing, commissions, etc.

                     Contractor shall hold harmless and indemnify Company for any claims arising out of

                     Contractors Out of Network business.

            1.3 Errors and Omissions Coverage

                    a. Contractor shall be required to carry a policy of Errors & Omissions (E&O) Coverage

                     in the amount of One Million Dollars ($1,000,000.00), for each occurrence and a

                    maximum deductible of Five Thousand Dollars ($5000.00); the amount of required

                    coverage shall be reviewed from time to time to take account of additional E&O

                    exposure, and Company may require Contractor to adjust coverage appropriately.

                    Contractor will provide Company with a Certificate of Coverage on the yearly

                    anniversary of this Agreement showing uninterrupted coverage. Contractor shall be

                    responsible for all deductibles and expenses resulting from any E&O claim and agrees to

                    indemnify and hold Company harmless from any such claims. Contractor is required to

                    carry their own E&O policy if they are writing Out of Network business (Business that is

                    written with Carriers for which Company does not hold an appointment). Contractor is

                    required to carry their own E&O policy if they have contracted with Sub-Contractors and

                    this E&O policy must include coverage for acts and omissions of the Sub-Contractor in

                    the same amounts as set forth above.

                    b. If possible the E&O policy shall name Company as an additional insured; and

                    Contractor shall provide Company with proof of coverage prior to appointment.


           INDEPENDENT CONTRACTOR AGREEMENT
           (AUGUST 28. 2014)
                 Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 25 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




                     c. Contractor shall have three options for meeting the E&O coverage requirement. The

                     three options follow and the contractor shall select and initial the option they choose.

                     OPTION I

                     o                 Company shall add Contractor to its E&O plan. (If a Contractor has had

                     past claims experience, this option is not available. If Contractor is writing out of

                     network business this option is not available. If Contractor has contracted with sub-

                     contractors this option is not available.) This option is available to Contractor for a

                     maximum of 1-year from the date of this agreement. After 12-months on this option the

                     Company has the option to remove the Contractor from its E&O plan. The Contractor

                    shall pay $150.00 per month for the first year if this option is selected.




                    OPTION II

                    o                  Contractor may elect to work with our E&O agent to select an E&O plan

                    that meets their needs and the Company's requirements. When selecting this option the

                    Contractor must include coverage in the new policy to cover prior acts while under the

                    Company's E&O plan. If a Contractor did not initially elect coverage under the

                    Company's E&O plan they will still need to include coverage in the new policy to cover

                    prior acts while under contract with the Company.

                    OPTION HI

                    o                 Contractor may elect to obtain coverage through an agency and carrier

                    that has not been preapproved by Company. Contractor will submit the potential

                    coverage to our agent for review and approval. If the coverage is not approved by


            INDEPENDENT CONTRACTOR AG RIKMENT
            (AUGUST 2/I, 2014)
                 Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 26 of 49

DocuSign Envelope ID: 9E7008F6-09ED-48E1-9996-1FADCO2247CF




                     Company's agent the Contractor will not be permitted to use this coverage to meet the

                     E&O requirement of this section.

                     I elect to use Option 1             for obtaining E&O insurance to meet my obligations under

                     this Agreement.           DocuSigned by;

                                             314.1A, lit,LbtrabS
                     Signed:                   iDegv7c04-exel{


                     d. Contractor shall immediately notify Company if at any time their E8c0 coverage

                     lapses, is canceled, or there is an interruption in coverage for any reason. While E&O

                     coverage is interrupted Contractor shall not have access to Company's Carrier; Client

                     Management System and Contractor shall not be permitted to bind coverage until E&O

                     coverage with a retroactive date to the date of lapse is once more in place.

            1.4 Duties. Contractor agrees to perform work in furtherance of its independent business and

            in consideration of the services of the Company on the terms and conditions set forth in this

            Agreement, and agrees to devote all necessary time and attention (reasonable periods of illness

            excepted) to the performance of the duties specified in this Agreement. Contractor's duties shall

            be as follows: Solicitation and sale of insurance products to the general public, and servicing the

            clients that result from these sales. Contractor further agrees that in all such aspects of such

            work, Contractor shall comply with the policies, standards, regulations of the Company and its

            Carriers from time to time established, and shall perform the duties assigned faithfully,

            intelligently, to the best of his/her/their ability, and in the best interest of the Company.

           13 Fees. Contractor agrees to pay Company an initial setup fee of Five Hundred Dollars

            ($500.00), due at the inception of this contract, for the above services and a continuing monthly

            payment of Four Hundred Dollars ($400.00) due and payable on the first day of each month

            during the term of this contract. For Contractors executing this Agreement at any time other than


            INDEP EN DENTCONTRA CTOR AGREEMENT
            (AUGUST 28. 2014)
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 27 of 49

DocuSign Envelope ID: 9E7008F6-09E0-4BE1-9996-1FADCO2247CF




            the 1st of the month; the fee shall be pro-rated according to the number of days remaining in the

            month.

                                      SECTION 2 - CONFIDENTIALITY
                     2.1     Confidentiality. Contractor acknowledges and agrees that all financial and

                     accounting records, lists of property owned by Company, including amounts paid

                     therefore, client and customer lists, electronically recorded and stored software and

                     information, trade secrets, intellectual properties, business strategies, sales systems, and

                     other Company data and information related to its business (hereinafter collectively

                     referred to as "Confidential Information") are valuable assets of the Company. Except

                     for disclosures required to be made to advance the business of the Company and

                     information which is a matter of public record, Contractor shall not, during the term of

                     this Agreement or after the termination of this Agreement, disclose any Confidential

                     Information to any person or use any Confidential Information for the benefit of

                     Contractor or any other person, except with the prior written consent of the Company.

                     Contractor shall protect Company's Confidential Information using at least the same

                     degree of care that Contractor uses to protect Contractor's own confidential information

                     of similar importance, but no less than a reasonable degree of care. Contractor agrees to

                     use Company's Confidential Information solely for the purpose of exercising

                     Contractor's rights and performing Contractor's obligations under this Agreement and

                     agrees not to use Company's Confidential Information for any other purpose, for

                     Contractor's own or any third party's benefit, without Company"s prior written consent,

                     Contractor agrees further not to disclose or disseminate Company's Confidential

                     Information to anyone other than: (i) those of Contractor's employees and contractors, or

            INDEPENDENT CONTRA(1 OR AGREEMENT
            (A LICIUST 28, 2014)
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 28 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




                     those who have a need to know and who are bound by a written agreement that prohibits

                     unauthorized use or disclosure of the Company's Confidential Information; or (ii) except

                     as otherwise agreed or permitted in writing by Company. Contractor may disclose

                     Company's Confidential Information to the extent required by law, provided that

                     Contractor takes reasonable steps to notify Company of such requirement before

                     disclosing the Company's Confidential Information and to obtain protective treatment of

                     the disclosure of Company's Confidential Information. Contractor acknowledges that

                     damages to the Company for improper disclosure of Company's Confidential Information

                     may be irreparable; and therefore, Company is entitled to seek equitable relief, including

                     injunction and preliminary injunction in addition to all other remedies available to

                     Company at law or equity. Company may pursue any remedy to protect its Confidential

                     Information without waiving other remedies available to it for breach of this covenant.

                    2.2      Return of Documents. Contractor acknowledges and agrees that all originals

                     and copies of records, reports, documents, lists, plans, memoranda, notes and other

                    documentation, as well as electronically recorded and processed data related to the

                    business of the Company or containing any Confidential Information shall be the sole and

                    exclusive property of the Company, and shall be returned to the Company upon the

                    termination of this Agreement or upon the written request of the Company.

                    2.3      Non-Competition/Non-Solicitation: In consideration of the various covenants

                    and obligations of Company in this Agreement, during the term of this Agreement

                    Contractor shall not (either directly or indirectly as an employee, partner, officer,

                    consultant, shareholder or otherwise of any corporation, governmental body, individual,

                    partnership, limited liability company, trust or other entity) own, manage, control,


            INDEPENDENT CONTRACTOR AGREEMENT
            ( AUGUST 28, 2014)
                 Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 29 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




                     participate in or in any manner engage in any business that is the same as, substantially

                     similar to or otherwise competitive with the business Contractor conducts with Company

                     during the term of this Agreement. This Non-Competition/Non-Solicitation clause shall

                     not apply to out of network business (Business written with Carriers for which Company

                     does not have an appointment) disclosed in the Out of Network Disclosure (Addendum

                     A) attached hereto and incorporated herein by reference. Contractor understands and

                     agrees that, in view of Company's substantial investment in its business and the

                     consideration received by Contractor pursuant to this Agreement, the foregoing limitation

                     is reasonable and necessary. Nothing herein shall prohibit Contractor from being a

                     passive owner of not more than 5% of the outstanding stock of any class of corporation

                    that is publicly traded, so long as Contractor has no active participation in the business of

                    such corporation.

                    Contractor agrees further that upon termination of the Agreement for any reason, and for

                    two years thereafter Contractor will not engage in any of the following activities:

                    (a) Solicit or in any manner encourage, either directly or indirectly, any employee,

                    contractor or consultant of Company to leave Company for any reason; nor will he/she

                    interfere in any other manner with the contractual or business relationships at the time

                    existing between Company and its current employees, contractors, or consultants; or

                    (b) Following the termination of Contractor's affiliation with Company, hire, directly or

                    through another entity, any person who was an employee of Company at any time; or

                    (c) Induce or attempt to induce, either directly or indirectly, any client of Company to

                    cease doing business with Company or in any way interfere with the existing business

                    relationship between any client and Company; or


           INDEPENDENT CONTRACTOR AGREEMENT
           (AUGUST 28. 2014)                                      8
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 30 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




                     (d) Induce or attempt to induce, either directly or indirectly, any carrier, insurer, supplier,

                     distributor, licensee or other business affiliate of Company to cease doing business with

                     Company or in any way interfere with the existing business relationship between carrier,

                     insurer, supplier, distributor, licensee or other business affiliate and Company.

                     2.4     Book of Business:        Contractor's list of accounts and/or clients as entered into

                     the Company's CMS system and the commissions and renewals to be received therefrom

                     shall be known as the Contractor's "Book of Business". Contractor shall have an

                     equitable interest in his/her Book of Business. The Book of Business in its entirety shall

                     remain the property of the Company. Out of Network business as set forth in the "Out of

                     Network" addendum, attached hereto and incorporated herein by reference, and the

                     commissions and renewals therefrom shall remain the sole property of the Contractor.

                     Upon terminating Contractor's association with the Company, the Company or its

                     successors and/or assigns will have the right to purchase the Contractor's equitable

                     interest in the Book of Business under the terms set forth in the Book of Business

                     Purchase Agreement attached hereto and incorporated herein by reference. Contractor

                     shall have the option to purchase the Company's interest in the Book of Business under

                     the terms set forth in the Book of Business Purchase Agreement.

                     2.5     Sub-Contractors:         Contractor shall retain the right to contract with Sub-

                     contractors during Contractor's relationship with Company. Contractor must have their

                     own E&O coverage, in the amounts set forth in Section 1.2 of this Agreement, for the

                     Sub-Contractor. Prior to entering into a Service Agreement with Company the Sub-

                     Contractors must provide Company with proof of their contract with Contractor.




            INDEPENDENT CONTRACTOR AGREEMENT
            (AUGUST 28. 2014)
                 Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 31 of 49

DowSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




                    Sub-Contractors must sign a service agreement with Company prior to being granted

                    access to Company's Client Management System and Agent Desktop. Such service

                    agreement will be in addition to any contract Sub-Contractor executes with Contractor.

                    Prior to being granted access to Company services and systems Sub-Contractor must also

                    provide proof of Errors and Omissions coverage in the same amounts as required by

                    Contractors in Section 1.2. (a) of this Agreement.

                    Contractor shall be responsible for accounting and paying commissions and renewals

                    earned by Sub-Contractor.

                    Contractor agrees to indemnify and hold harmless Company for any acts or omissions of

                    Sub-Contractor.

                    2.6      Audit of Records:      Since Contractor is an independent agent, retaining

                    Contractor's own books and records, Company at all times retains the right to audit the

                    books and records of Contractor to insure compliance with this agreement. Any such

                    audit shall only be conducted at a reasonable time and place and only after reasonable

                    notice to the Contractor..

                    2.7     Injunction:      Contractor agrees that it would be difficult to measure damage to

                    the Company from any breach by Contractor of Sections 2.1, 2.2, or 2.3 and that

                    monetary damages would be an inadequate remedy for such breach. Accordingly,

                    Contractor agrees that if Company makes a claim that Contractor has breached Section

                    2.1, 2.2, or 2.3 the Company shall be entitled to, in addition to all other remedies it may

                    have at law or equity, to an injunction or other appropriate orders to restrain any such

                    breach, without showing or proving actual damages sustained by the Company.




            INDEPENDENT CONTRACTOR AGREEMENT
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                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 32 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




                     2.8     No Release: Contractor agrees that the termination of this Agreement shall not

                     release Contractor from any obligations under Section 2 of the Agreement.

                                        SECTION 3- COMPENSATION
            3.1      Compensation:            In consideration of all services to be rendered by Contractor to the

                     Company, the Company shall pay the Contractor pursuant to the Compensation

                     Agreement attached hereto and incorporated herein by reference.

            3.2     Withholding; Other Benefits: Compensation paid pursuant to this Agreement shall not

                    be subject to the customary withholding of income taxes and other employment taxes.

                    Contractor shall be solely responsible for reporting and paying any such taxes. The

                    Company shall not provide Contractor with any coverage or participation in the

                    Company's accident and health insurance, life insurance, disability income insurance,

                    medical expense reimbursement, wage continuation plans, or other fringe benefits

                    provided to employees.

                                             SECTION 4- TERMINATION
            4.1     Termination at Will; This Agreement may be terminated or suspended by the Company

                    immediately, at will, and in the sole discretion of the President of the Company.

                    Contractor may terminate this Agreement upon fourteen (14) days written notice to the

                    Company. This Agreement also may be terminated at any time upon the mutual written

                    agreement of the Company and Contractor.

                    Upon Contractor producing a Book of Business with a rolling annual average property &

                    casualty premium of Three Hundred Thousand Dollars ($300,000.00) or more, Company

                    may only terminate this Agreement with Contractor for cause.

            4.2     Termination for Cause: For purposes of this Agreement "Cause" shall mean
            INDEPENDENT CONTRACTOR AGREEMENT
              UGUST28.: 2014)                                        II
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 33 of 49

DocuSign Envelope ID: 9E7008F6-09ED-413E1-9996-1FADCO2247CF




                     any of the following:

                     a. Death of the Contractor;

                     b. The inability of Contractor to perform Contractor's usual obligations hereunder for a

                     continuous period exceeding 180 days;

                     c. Any act or omission that constitutes a material breach by Contractor of his obligations

                     or covenants under this Agreement;

                     d. Contractor's conviction of a felony or of any crime involving moral turpitude, fraud or

                     misrepresentation or the perpetuation by Contractor of any dishonest act, any of which

                     damage or violate the best interest of Company or any affiliate or subsidiary thereof;

                     e. Use of any substances which interferes with the performance of Contractors' duties

                     and responsibilities under this Agreement;

                     f. Any other act or omission by Contractor which, in the good faith opinion of the

                     President of the Company, is injurious in any material respect to the financial condition

                     or business reputation of Company or any of its affiliates or subsidiaries and which

                     results from Contractor's gross negligence or willful misconduct;

                     g. Incompetence or dereliction on the part of Contractor in the performance of

                     Contractor's duties and responsibilities under this Agreement, provided Company shall

                     have given Contractor at least thirty (30) days prior written notice of such incompetence

                    or dereliction and Contractor shall have failed to cure such incompetence within such

                    thirty (30) day period;

                    h. Failure of the Contractor to maintain a current, and in good standing, insurance

                    producer license(s) for the state(s) in which Contractor is soliciting sales;




            INDEPENDENT CONTRACTOR AGREEMENT
            (AUGUST 28. 2014 )                                      2
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 34 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




                     i. Any act of the Contractor to roll over the Book of Business to an entity other than

                     Pacific Crest Services, Inc. during the term of this Agreement, including but not limited

                     to moving business from Company's network of Carriers to Carriers outside of this

                     Agreement;

                     j. Breach of a "non-compete" and/or "confidentiality" agreement executed

                     with a prior employer;

                     k. Failure of Contractor to timely reimburse Company for any chargebacks received by

                     the Company on Commissions previously paid to Contractor; or

                     I. Failure of Contractor to maintain appointments with Carriers of the Company other

                     than by voluntary termination by Contractor with the consent of the Company.

                     m. Lapse in E&O coverage where Contractor has not notified Company of lapse.

            4.3     Commission Chargebacks: Contractor shall be responsible for immediately

                    reimbursing Company for any chargebacks received by the Company on Commissions

                    previously paid to the Contractor. This obligation shall survive termination of this

                    Agreement,

            4.4     Death: In the event Contractor dies during the term of this Agreement, this Agreement

                    shall terminate, and the Company shall pay to Contractor's estate the compensation which

                    would otherwise be payable to Contractor, including the purchase of Contractor's

                    Book of Business under the terms and conditions as set forth in the Book of Business

                    Purchase Agreement. In the alternative, should the Contractor's heirs and/or assigns

                    desire to continue the affiliation with Pacific Crest Services, Inc., Company shall

                    negotiate in good faith with the heirs and/or assigns the continuation of the affiliation




           INDEPENDENT CONTRACTOR AGREEMENT
           (AUGUST 2S. 2014)                                       13
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 35 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




                     under the same terms and conditions of agreements that existed between Company and

                     Contractor at the time of the Contractor's death.

            4.5      Termination Fee. In consideration of the substantial time and resources Company

                     provides Contractor, Contractor agrees to pay Company Six Thousand Two Hundred

                     Fifty Dollars ($6,250.00) upon termination of this Agreement. If Contractor has attended

                     Company's on site Contractor training the Termination Fee shall be Four Thousand

                     Dollars ($4,000.00)

                    (a) In the event that Company terminates this Agreement without Cause this Termination

                    Fee shall be waived.

                    (b) Company shall waive and reduce the Termination Fee on the annual anniversary of

                    this Contract by One Fourth (1/4) of the total fee through the fourth anniversary date.

                    (c) Upon passing the fourth anniversary of this contract Contractor will be exempted

                    from any Termination Fee.

                    (d) Contractor shall execute the Security Agreement, attached hereto as Exhibit B, and

                    incorporated herein by reference to secure payment of this termination fee. The Security

                    Agreement provides for a UCC filing on Contractor's equitable interest in the Book of

                    Business set forth in Section 2.4 of this Agreement.

                    SECTION 5 - INDEPENDENT CONTRACTOR STATUS
            Contractor acknowledges that he/she is an independent contractor and is not an agent, partner,

           joint venture, nor employee of Company. Contractor shall have no authority to bind or

            otherwise obligate Company in any manner nor shall contractor represent to, anyone that it has a

            right to do so. Contractor further agrees that in the event that the Company suffers any loss or




           INDEPENDENT CONTRACTOR AGREEMENT
           (AUGUST 28, 20141                                      14
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 36 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




            damage as a result of a violation of this provision Contractor shall indemnify and hold harmless

            the Company from any such loss or damage.

                    SECTION 6- REPRESENTATIONS OF WARRANTIES OF CONTRACTOR

            Contractor represents and warrants to the Company that Contractor may enter into this

            Agreement and that there are no employment contracts, non-compete, or other contractual

            obligations to which Contractor is subject, which prevents Contractor from entering into this

            Agreement or from performing fully Contractor's duties under this Agreement. Contractor agrees

            to indemnify and hold Company harmless for any loss related to a breach of this covenant.

                                      SECTION 7 - INDEMNIFICATION
            7.1      Contractor agrees to indemnify, keep indemnified, and save harmless Company, and/or

                     the Carriers with which it is appointed, from and against any and all demands, liabilities,

                     costs, penalties, obligations, interest, damages and expenses of whatever nature or kind,

                     including fees of attorneys (including both outside and in-house attorneys' fees) and all

                     other expenses, including but not limited to costs and fees incurred in investigation of

                     3rd party claims or potential 3rd party claims, adjustment of 3rd party claims, procuring

                     or attempting to procure the discharge of such 3rd party claims, or attempting to recover

                     losses or expenses from the undersigned or third parties, whether Company, and/or the

                     Carriers with which it is appointed, shall have paid out any such sums or any part thereof

                     or not; and

            7,2      Contractor and Company agree that in furtherance of such indemnity:

                     7.2.1 In any, claim or suit hereunder and in any and all matters arising between the

                     Contractor and Company, and/or the Carriers with which it is appointed, involving 3rd

                     party claims, an itemized statement of the aforesaid loss and expense, sworn to by a

            INDEPENDENT CONTRACTOR AGREEMENT
            (AUGUST 28, 2014)                                      15
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 37 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




                     representative of Company, and/or the Carriers with which it is appointed, or the

                     vouchers or other evidence of disbursement by Company, and/or the Carriers with which

                     it is appointed, shall be prima facie evidence of the fact and extent of the liability

                     hereunder of the undersigned.

                     7.2.2 Company, and/or the Carriers with which it is appointed, shall have the right to

                     reimbursement of its expenses, interest, and attorneys' fees arising from 3rd party claims,

                     hereunder, irrespective of whether any loss payment has been made by Company, and/or

                     the Carriers with which it is appointed.

                     7.2.3 In any suit between any of the undersigned and Company under this

                     indemnification agreement, the prevailing party may recover reasonable expenses and

                     attorneys' fees incurred in such suit or in collecting any judgment obtained.

                     7.2.4 The foregoing notwithstanding, neither party shall be required to indemnify the

                    other (a) in criminal proceedings; or (b) civil proceedings where either of theseparties is

                    the plaintiff against the other. The foregoing rights are in addition to any other rights to

                    which either party hereto may be entitled under any other agreement, policy, bylaw,

                    insurance policy, ordinance, statute or other provision.

                    7.2.5 This Indemnification shall survive termination of ThisAgreement.

                                              SECTION 8- LICENSE
            8.1     Under the relationship pursuant to this Agreement, Contractor has a non-exclusive

                    limited license to utilize the Company's branding, including trade name, logo,

                    copyrighted materials, etc. (collectively, its "Trade name") in all dealings between

                    Contractor, Contractor's sub-contractor(s), and any third parties. Contractor must

                    identify its affiliation with Company in all communications with the Public.

            INDEPENDENT CONTRACTOR AGREEMENT
            (AUGUST 28,2014)                                        16
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 38 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




            8.2      Contractor has no ownership interest in Company's Trade name, and shall not utilize it

                     other than in its own business and that of its present and any future sub-contractors, and

                     shall not grant any rights or privileges to use the same to any other third parties outside

                     of this Agreement.

            8.3      In the event the parties to this Agreement terminate this Agreement for any reason,

                     Contractor's right to utilize Company's Trade name shall cease.

                     8.31 Provided however, that in order to facilitate a smooth transition and minimize

                             customer confusion, re-do marketing materials and advertising, etc., Contractor

                             shall be entitled within its sole discretion to continue utilizing the Trade name in

                             the same fashion it does under this Agreement for a period not to exceed one (1)

                             year following the effective date of termination of this Agreement with the

                             Company; and

                    8.3.2 Contractor shall remain obligated to pay the monthly service fee; and

                             Commission split to Company for as long as it elects to continue use of the Trade

                             name during the one (1) year period.

            8.4     Contractor shall use the Trade name, only in accordance with the specifications set forth

                    in Appendix "A" to this Agreement.

                           SECTION 9- MISCELLANEOUS PROVISIONS
            9.1     The provisions of this Agreement shall be binding upon and inure to the benefit of the

                     Heirs, personal representatives, successors and assigns of the parties. Any provision

                    hereof which imposes upon Contractor or Company an obligation after termination or

                    expiration of this Agreement shall survive termination or expiration hereof and be

                    binding upon Contractor or Company.

            INDEPENDENT CONTRACTOR A GR.EEM ENT
            (AUGUST 28. 20141                                       17
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 39 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




            9.2      In the event of a default under this Agreement, the defaulted party shall reimburse the

                      non- defaulting party or parties for all costs and expenses reasonably incurred by the

                     non- defaulting party or parties in connection with the default, including without

                     limitation, reasonable attorney's fees and costs. Additionally, in the event a suit or action

                     is filed to enforce this Agreement or with respect to this Agreement, the prevailing party

                     or parties shall be reimbursed by the other party for all costs and expenses incurred in

                     connection with the suit or action, including without limitation, reasonable attorney's fees

                    at the trial level and on appeal. This covenant shall survive termination of this

                    Agreement.

            9.3     In the event that a dispute shall arise between Company and Contractor concerning any

                    provision of this Agreement, or the Book of Business Purchase Agreement or the

                    Compensation Agreement the parties shall attempt to resolve such dispute through good

                    faith negotiation. If Company and Contractor are unable to resolve such dispute through

                    good faith negotiation within 60-days after either party has provided written notice of a

                    dispute to the other party, the dispute will be settled by binding arbitration conducted

                    before a single arbitrator. Either Company or Contractor may submit the dispute to

                    arbitration. The arbitration will be conducted in accordance with the then applicable

                    Commercial Arbitration Rules, but not under the auspices, of the American Arbitration

                    Association (AAA), and will be held in the City of Boise, Ada County, in the State of

                    Idaho. The arbitrator shall be mutually agreed upon by Company and Contractor, but if

                    they are unable to agree on an arbitrator the arbitrator shall be appointed pursuant to

                    Idaho's Uniform Arbitration Act, and more specifically, Idaho Code § 7-903. All

                    arbitration proceedings shall be closed to the public and confidential. All records relating


           INDEPENDENT CONTRACTOR AGREEMENT
           (AUGUST 28. 2014)                                       18
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 40 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




                     thereto shall be permanently sealed, except as necessary to obtain court confirmation of

                     the arbitrator's decision. The arbitrator will be bound by the terms and conditions of this

                     Agreement and shall have no power, in rendering his or her award, to alter or depart from

                     any express provision of this Agreement, and his or her failure to observe this limitation

                     shall constitute grounds for vacating the award. The award of the arbitrator shall be final

                     and binding upon the parties, and judgment upon the award may be entered in any court

                     having jurisdiction thereof.

            9.4     No waiver of any provision of this Agreement shall be deemed, or shall constitute, a

                    waiver of any other provision, whether or not similar, nor shall any waiver constitute a

                    continuing waiver. No waiver shall be binding unless executed in writing by the party

                    making the waiver.

            9.5     This Agreement shall be governed by and shall be construed in accordance with the laws

                     of the State of Idaho as if performed entirely therein, and without reference to its

                    conflicts of laws rules. This Agreement contains a binding arbitration provision. Should

                    any dispute arise as to the enforceability of the binding arbitration provision, the state and

                    federal courts located in Boise, Ada County, Idaho have exclusive jurisdiction to

                    adjudicate any dispute in connection therewith, and each party consents to the exercise of

                    personal jurisdiction by the state and federal courts located in Boise, Ada County, Idaho.

                    If the binding arbitration provision is found to be unenforceable by a state or federal court

                    located in Ada County, Idaho, the state and federal courts located in Boise, Ada County,

                    Idaho have exclusive jurisdiction to adjudicate any dispute in connection with this

                    Agreement and each party consents to the exercise of personal jurisdiction by the state

                    and federal courts located in Boise, Ada County, Idaho.


           INDEPENDENT CONTRACTOR AGREEMENT
           (AUGUST 28.2014)                                        19
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 41 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




            9.6      This Agreement constitutes the entire agreement between the parties pertaining to its

                     subject matter and it supersedes all prior contemporaneous agreements, representations

                     and understandings of the parties. No supplement, modification or amendment of this

                     Agreement shall be binding unless executed in writing by all parties.

            9.7      This Agreement must be interpreted in accordance with the plain meaning of its terms

                     and not strictly for or against either party (shall not be construed against the drafting

                     party).



            WITNESS OUR SIGNATURES, this the 3 r8ay of October , 20 14

            COMPANY- PgalAC,c,est Services, Inc.
                     Statat,
            By:       000C281CAA34,4„.


            Shawn G. Webb, President



                               r
            CONTRACTOR:

                                 DocuSigned by:

                                Jetuk,
            By:                   1itIFRF47f1111.11r115




            INDEPENDENT CONTRACTOR AGREEMENT
            (AUGUST 28.2014)                                       20
                 Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 42 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




                         BOOK OF BUSINESS PURCHASE AGREEMENT

            THIS BOOK OF BUSINESS PURCHASE AGREEMENT is entered into contemporaneously
                                                                                      3rd
            with that certain Independent Contractor Agreement executed on the                       day of
              October
                                       20 14 between Company and Contractor. This Agreement incorporates

            the covenants and warranties and other defined terms from the Independent Contractor

            Agreement.

            Whereas the Company affirms that Contractor shall have an equitable interest in his/her

            Book of Business as set forth in Section 2.4 of the Independent Contractor Agreement.

            Company shall have the right of first refusal to purchase Contractor's equitable interest in his/her

            Book of Business at the time Contractor's affiliation with Company is terminated for any reason.

            Company may purchase the Contractor's equitable interest in the Book of Business under the

            following terms:

                                                             Section 1
                                                       Right to Purchase


            1. 1 Within 60-days of Contractor terminating his/her association with the Company, the

            Company may purchase and Contractor may agree to sell his/her equitable interest in the

            Contractor's Book of Business under the following terms;

                      1.1.1 If Contractor terminates the Agreement prior to the 1-year anniversary,

                              Contractor shall receive no payment for his/ her equitable interest.

                      1.1.2 If Contractor has been under contract with the Company for more than 1-year

                              and less than 2-years, Company 'will pay Contractor 50% of the monthly

                             commissions and renewals earned on the Book of Business, less any expenses

                             including but not limited to chargebacks, cancellations, etc., in the year
            BOOK OF BUSINESS
            (REVISED 8123/20                                                                                  EXHIBIT

                                                                                                      I       d23
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 43 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




                             following termination of this agreement.

                      1.1.3 If Contractor has been under contract with the Company for more

                              than 2-years and less than 3-years, Company will pay Contractor

                              50% of the monthly commissions and renewals earned on the Book

                              of Business, less any expenses including but not limited to

                              chargebacks, cancellations, etc., in the 2 years following termination

                              of this agreement

                      1.1.4 If Contractor has been under contract with the Company for more

                              than 3-years and less than 4-years, Company will pay Contractor

                              50% of the monthly commissions and renewals earned on the Book

                              of Business, less any expenses including but not limited to

                              chargebacks, cancellations, etc., in the 3 years following termination

                              of this agreement.

                      1.1.5 If Contractor has been under contract with the Company for more

                              than 4-years and less than 5-years, Company will pay Contractor

                              50% of the monthly commissions and renewals earned on the Book

                              of Business, less any expenses including but not limited to

                              chargebacks, cancellations, etc., in the 4 years following termination

                              of this agreement.

            1.2    Company shall notify Contractor in writing within 60-days of the termination of

                    Association of its intent to purchase/or not to purchase Contractor's Book of Business.

                    Should Company fail to notify Contractor of the intent to purchase Contractor's

                    interest in the Book of Business, Contractor shall be free to sell his/her interest in the

            BOOK OF BUSINESS
            (REVISE!) 812812014)
                 Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 44 of 49

DocuSign Envelope ID: 9E7008F6-09ED-4BE1-9996-1FADCO2247CF




                    Book of Business to a purchaser of his/her choosing, at a price agreed upon by

                    Company and Contractor. Such agreement on price shall be executed in writing by

                    Company and Contractor.

            1.3 In the event that the Company does not exercise its option to purchase the Contractor's

                  interest in the Book of Business and the Contractor elects to purchase or transfer

                  ownership of the Book of Business, Contractor may purchase Company's interest in the

                  Book of Business under the following terms and conditions:

                               (a) Contractor may purchase the Book of Business with one lump sum

                                    payment under the following terms:

                                     1. If the Contractor has been under contract with the Company for more

                                      than one year and less than four years, Contractor can purchase the

                                      Book of business at .5 times the gross new and renewal commissions

                                     from the Book of Business in the 24-months immediately preceding

                                     Contractor's termination of this Agreement.

                                     2. If the Contractor has been under contract with the Company for more

                                      than four years and less than five years, Contractor can purchase the

                                     Book of Business for .9 times 1/2 the gross new and renewal

                                     commissions from the Book of Business in the 24-months immediately

                                     preceding Contractor's termination of this Agreement.

                                     3. If the Contractor has been under contract with the Company for

                                     more than five years and less than six years, Contractor can purchase the

                                     Book of Business for .8 times 1/2 the gross new and renewal

                                     commissions from the Book of Business in the 24-months immediately

           BOOK OF BUSINESS
           (REVISED 8/28/2014)
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 45 of 49

DocuSign Envelope ID: 9E7008F6-09ED-413E1-9996-1FADCO2247CF




                                      preceding Contractor's termination of this Agreement.

                                      4. If the Contractor has been under contract with the Company for more

                                       than six years and less than seven years, Contractor can purchase the

                                      Book of Business for .7 times 1/2 the gross new and renewal

                                      commissions from the Book of Business in the 24-months immediately

                                      preceding Contractor's termination of this Agreement.

                                       5. If the Contractor has been under contract with the Company for

                                      more than seven years and less than eight years, Contractor can purchase

                                      the Book of Business for .6 times 1/2 the gross new and renewal

                                      commissions from the Book of Business in the 24-months immediately

                                      preceding Contractor's termination of this Agreement.

            1.4 If the purchaser is under contract with Company and at the same commission level of

                  Company Compensation as Contractor with Company the transfer/sale provisions of

                  Section 1.3 shall not apply. If the transfer or sale of the Book of Business is to the

                  Contractor's heirs, if the heirs are under contract or agree to enter into an Independent

                  Contractor Agreement with the Company, the transfer/sale provisions of Section 1.3 shall

                   not apply. Company shall be entitled to review all documents pertaining to the

                   sale/transfer of the Book of Business at a reasonable time and place.

            1.5    Contractor will have 30-days to move the Book of Business from the Company's CMS.

                   Company shall continue to charge the Contractor at the split Contractor was receiving at

                    the time of termination until the Book of Business is removed from the CMS.

            1.6    Non-Disclosure, Non-Competition, and Non-Solicitation Condition to Payment.

                    As to business written by Contractor with Company's Carriers during the term of

            BOOK OF BUSINESS
            (REVISED 8/2$12014)
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 46 of 49

DocuSign Envelope ID: 9E7008F6-09ED-48E1-9996-1FADCO2247CF




                    this agreement. Contractor's breach of Sections 2.1, 2.2, or 2.3 of the

                    Independent Contractor Agreement shall relieve Company of its obligation to

                    pay the consideration set forth in Section 1.1.

            1.7    Payment of Chargebacks, Servicing Expenses, Costs Subject to Setoff. Company

                   will setoff Chargebacks, servicing expenses, and all reasonable costs incurred by

                   Company to service the Book of Business against any payments due Contractor.

            1.8    Company Payment Procedures.

                    (a) If earned, Company shall pay the Contractor monthly on the earned amount by

                    issuing a check in the payment amount. If any payment date hereunder falls on a

                    day that is a Saturday, Sunday or holiday on which Company is closed, such

                    payment shall be due on the next day on which Company is open for business.

                    (b) If Company determines that payment is not due because the applicable conditions

                    under Paragraphs (ii) exist, or have been breached under Paragraphs (iii), and/or (iv),

                    within 10 business days of such determination Company shall provide Contractor

                    with a notice of such determination, which notice shall provide comprehensive detail

                    to support Company's determination. Contractor shall have the right to audit relevant

                    books and records of Company, as maintained by Company during the relevant

                    period or periods to verify the accuracy of Company's determination.

                    Such audit rights shall be subject to reasonable time, place and manner restrictions

                    imposed by Company. If Contractor delivers a written notice ("Notice of Dispute") to

                    Company stating that Contractor objects to Company's determination that payment is not

                    due, and explaining in reasonable detail the basis for such objection, Contractor and

                    Company will attempt to resolve and finally determine and agree upon whether the


           BOOK OF BUSINESS
           (REVISED V28/2014)
                  Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 47 of 49

DocuSign Envelope ID: 9E7008F6-09ED-413E1-9996-1FADCO2247CF




                     condition(s) have been satisfied. If Company and Contractor are unable to agree within

                     60-days after delivery of the Notice of Dispute, the dispute will then be submitted to

                     arbitration under the arbitration provisions of the Independent Contractor Agreement.

            1.9      Contractor will retain a security interest in the Book of Business until all sums to be

                     paid to him under this Section have been paid in full. Contractor shall release his/her

                     security interest upon Company's complete performance under this Agreement.

            1.10 Subject to the Company exercising its right to purchase Contractor's interest ill

                     Contractor's Book of Business, Contractor agrees to execute a Bill of Sale and other

                     documents as may be required to transfer Contractor's interest in the Book of Business

                     to Company.



                                                             Signature Page Follows




                                                   October
             Dated this 3 rd            day of                             ,20 14


                               Pacific Crest Services, Inc.
                                            DocuSigned by:

                                           stawk, a. 0Jim,
                               By:   •---OCIOFF9FIFCA.614Fa

                                  Shawn G. Webb
                                       President



                               Contractor:

                                  John And raos

                                                 DocuSigned by:

                                                        gialrokOS
                               By:                       15•1934t5

            BOOK OF BUSINESS
            (REVISED 8/28120:14)
                              Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 48 of 49




                                                                         John Andraos
                                                                          Book Deflation
                    Book as of 01.0.1.2017                                                               Book as of 06.07.2017
Rovu'l.abels        Co u                       Su m ,of ACP re M           I                              unt
Travelers                               144                  $291,890.20              Travelers                        85        $165,932.40
Allied                                  94                   $222,158.72              Hartford                         22        $162,370.00
Hartford                                25                   $193,251.00              Allied                           57        $157,244.20
Safeco                                   60                  $118,609.35              Safeco                           59        $111,469.54
C.N.A.                                    5                    $49,396.00             C.N.A.                            5         $52,138.00
Employers                                 1                    $20,587.00             Employers                         2         $41,194.00
Kemper Specialty                        12                     $15,544.03             Kemper Specialty                 14         $19,631.05
MetLife                                   1                        $1,421.00          MetLife                           1          $1,421.00
Progressive                               3                         $828.27           Progressive                       2           $747.52
Grand Total                                                                            3rand Total                ' - ;27•       $712,f471

                   Monthly Production Trend
     ProdDate              # of Items                   ACPrem
2016-January                             41.                       91,845.80
2016-February                            37                        73,266.06
2016-March '                             39                     91,148.50
2016-April                               34                     71,658.46
2016-May                                 42                    118,533.55
2016-June                                31.                    85,832.07
2016-July                                41                     82,561.74
2016-August                              31                     69,754.86
2016-September                           30                     81,639.17
2016-October                             24                        49,814.16
2016-November                            24                     53,680.46
2016-December                            21                    140,698.06
2017-January                              6                     18,242.14
2017-February                            16                     26,277.36
2017-March                                8                        32,064.61
2017-April                                1                         2,946.26
2017-May                                  4                         6,980.78
                               Case 1:17-cv-00290-EJL Document 1-1 Filed 07/10/17 Page 49 of 49




     Year to Date John Andraos Policy Activity                                                        Policy Status Definitions
                    6/20/2017                                                                                Status Key
Row Labels      Count of Policy# Sum of ACprem               tiatisS                                                 OeiciliitiPh •
. . _____.             ............._
   BOR                                21   $54,-70-2760    BOR         Agent transferred policy to code outside of Pacific Crest Services with same carrier
   Cancelled                            6  $40,937.04      Cancelled    Cancelled with no notes
   Canc-IReq
    _                                 21   $-Lii,iiiiiii   Canc-Ireq   Insured requested cancellation and policy was placed with another carrier
   Canc-NPay                          48  $163,674.71      Canc-NPay Insured did not pay the policy premium resulting in a cancellation

_ Expired _                            7     $7,306.88     Expired     The renewal policy and commissions were not received by Pacific Crest
   NonRenew                            '2    $4,782.28     NonRenew Carrier non renewed policy under Pacific Crest code
   Replaced                           39   $87,230.76      Replaced    Policy rewritten through another agency outside of Pacific Crest Services with the same Carrier ;
Grand Total                    ,144. .     343,037.74
